                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 MARCUS D. MACK,                               )
                                               )
                                Plaintiff,     )
                                               )
                      v.                       )           Case No. 4:21-00311-CV-RK
                                               )           Crim. No. 4:18-cr-00168-RK-1
 USA,                                          )
                                               )
                                Defendant.     )
                                           ORDER
        Movant has filed a motion to vacate, set aside, or correct a sentence pursuant to 28 U.S.C.
§ 2255. (Doc. 1.) However, Movant previously filed a motion pursuant to 28 U.S.C. § 2255. See
Mack v. United States, Case No. 4:20-cv-00550-RK. Also before the Court is a motion to withdraw
filed by Movant’s Federal Defender on the grounds that Movant “has not obtained the consent of
the Eighth Circuit to file a second motion to vacate his sentence” and therefore “this Court lacks
jurisdiction to determine the pending cause of action, and . . . she cannot pursue [Movant’s] claim.”
(Doc. 3.)
        Before the district court may consider a second or successive motion for relief under
Section 2255, the prisoner “shall move tin the appropriate court of appeals for an order authorizing
the district court to consider the [motion].” 28 U.S.C. § 2244(b)(3)(A); see also § 2255(h)(1) and
(2). Because Movant has not obtained the required authorization from the United States Court of
Appeals for the Eighth Circuit, this case must be dismissed without prejudice for lack of
jurisdiction.
        Accordingly the Court ORDERS:
        (1) This case is dismissed without prejudice. Movant may reassert his claims if and when
            he obtains the required authorization from the Court of appeals.
        (2) The motion to withdraw (Doc. 3) is granted.
        IT IS SO ORDERED.
                                              s/ Roseann A. Ketchmark
                                              ROSEANN A. KETCHMARK, JUDGE
                                              UNITED STATES DISTRICT COURT

DATED: May 25, 2021



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